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       Chris
       Copyright Department
       Go Daddy Operating Company, LLC
       CopyrightClaims@GoDaddy.com
       Customer Inquiry
       DOMAIN: MANPOWERGROUP.TODAY COMPLAINANT: Full Name: John Bathke
       Company Name: IpHorgan Ltd. Street Address: 195 Arlington Heights Rd, Ste 125
       City/State/Country: Buffalo Grove, IL United States Phone: 8478085500 Email:
       jbathke@iphorgan.com COPYRIGHT INFO: Copyright Owner Name: ManpowerGroup
       Inc. Description of Copyrighted work(s): We previously reported this domain:
       manpowergroup.today since it was previously redirecting the site to
       manpowergroup.com and was using the site for fraudulent purposes. Now the scammer
       has relaunched a new website. On this website, the scammer has blatantly copied the
       Manpower logo. Manpower has a copyright in this work and a copyright registration. We
       attach that information here. We respectfully request that this site be taken down and that
       the scammer's account be deactivated. Original work(s) attached. INFRINGEMENT
       DETAILS: URL of Infringement: manpowergroup.today Identification of Infringement:
       The domain www.manpowergroup.today now has Manpower's logo copied on the
       website. Manpower has a copyright registration in this work. GoDaddy is the registrar
       for this domain and the host for the site. CONFIRMATIONS: I have a good faith belief
       that use of the material in the manner complained of is not authorized by the copyright
       owner, its agent, or the law. Under penalty of perjury, I am authorized to act on behalf of
       the owner of an exclusive right that is allegedly infringed The information in this
       notification is accurate. I understand that, pursuant to 17 U.S.C. § 512(f), any person
       who knowingly materially misrepresents that material or activity is infringing may be
       liable for damages, including costs and attorneys’ fees. Digital Signature: John Bathke
       CLAIM ID: 2238692



      If you need further assistance with this matter, please reply to this email and reference
      [Incident ID: 36658001].

      Kindest regards,
      Trademark & Copyright Claims



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